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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 2:17-cr-82-FtM-38CM

TORY DENARD CARNEGIE
   a/k/a “T-Row”
___________________________

                             FINAL ORDER OF FORFEITURE

       THIS CAUSE comes before the Court upon the United States= Motion for a Final

Order of Forfeiture, pursuant to 21 U.S.C. § 853(n)(7) and Rule 32.2(c)(2) of the Federal

Rules of Criminal Procedure, for a Final Order of Forfeiture for (1) an American Tactical

Imports-Ati Omni Rifle, .556 caliber, serial number AR39418, and (2) a Glock Inc. 27, .40

caliber pistol, serial number EUK015US.

       On November 7, 2017, the Court entered a Preliminary Order of Forfeiture for the

assets described above, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

Doc. 93.

       The Court finds that in accordance with 21 U.S.C. ' 853(n) and Rule 32.2(b)(6)(C),

the United States published notice of the forfeiture and of its intent to dispose of the assets

on the official government website, www.forfeiture.gov, from November 8, 2017 through

December 7, 2017. Doc. 97. The publication gave notice to all third parties with a legal

interest in the assets to file with the Clerk of Court, U.S. Federal Courthouse and Federal

Building, 2110 First Street, Room 2-194, Fort Myers, FL 33901, a petition to adjudicate

their interest within 60 days of the first date of publication. No third party has filed a

petition or claimed an interest in the assets, and the time for filing such petition has
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expired.

          Accordingly, it is hereby:

          ORDERED that for good cause shown, the United States= motion is GRANTED.

          It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7) and Federal

Rule of Criminal Procedure 32.2(c)(2), all right, title and interest in the assets identified

above are CONDEMNED and FORFEITED to the United States for disposition according

to law.

          Clear title to the assets is now vested in the United States of America.

          ORDERED in Fort Myers, Florida, on this 10th day of January, 2018.




Copies to:
All Parties\Counsel of Record




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